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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

UNITED STATES OF AMERICA,

               Plaintiff,

v.                                                        Criminal Case No. 05-80266-1
                                                          Honorable Patrick J. Duggan
ARSHAD ALI MALIK,

           Defendant.
____________________________/

           OPINION AND ORDER DENYING DEFENDANT’S MOTION
                     FOR SENTENCE ADJUSTMENT

        Defendant pleaded guilty to one count of possession with intent to distribute and to

distribute heroin and, on November 17, 2009, this Court sentenced Defendant to a term of

imprisonment of seventy-eight (78) months. Defendant is not a citizen of the United

States and is subject to deportation. Presently before the Court is Defendant’s Motion for

Sentence Adjustment, filed March 9, 2011. At the Court’s request, the Government filed

a response to the motion on April 11, 2011. Defendant filed a reply brief on April 21,

2011.

        In his motion, Defendant contends that he is subjected to harsher conditions of

confinement and is ineligible for certain rehabilitative programs as a result of his status as

a deportable alien. According to Defendant, this includes his ineligibility for timely

release to a halfway house. He therefore asks the Court to modify his sentence to allow

for his release to the custody of Immigration and Customs Enforcement on the date of his

eligibility for release to a halfway house and a reduction of his sentence “to compensate
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for the disparity in conditions” of his confinement.

       Some courts have held that, at sentencing, “a downward departure may be

appropriate where the defendant’s status as a deportable alien is likely to cause a

fortuitous increase in the severity of his sentence.” United States v. Smith, 27 F.3d 649,

655 (D.C. Cir. 1994); see also, e.g., United States v. Lopez-Salas, 266 F.3d 842, 847 (8th

Cir. 2001) (citing cases). The time has expired, however, for Defendant to challenge his

sentence by way of a direct appeal or a motion for post-conviction relief under 28 U.S.C.

§ 2255. See Fed. R. App. P. 4(b) (establishing a fourteen day period for a defendant to

file a notice of appeal in a criminal case); 28 U.S.C. § 2255(f) (setting forth a one-year

limitations period for a federal prisoner to file a motion to vacate, set aside, or correct

sentence). A district court is authorized to modify a defendant’s sentence only in those

instances where Congress has granted it jurisdiction to do so. United States v. Blackwell,

81 F.3d 945, 947 (10th Cir. 1996).

       In 18 U.S.C. § 3582(c), Congress provided that a court may not modify a term of

imprisonment once it has been imposed except in the three limited circumstances set forth

in the statute. United States v. Smartt, 129 F.3d 539, 540 (10th Cir. 1997) (citing 18

U.S.C. § 3582). The Sixth Circuit Court of Appeals has described those limited

circumstances as follows:

              Under 18 U.S.C. § 3582(c), a trial court may amend a
              sentence of imprisonment only where one of the
              circumstances set forth in that statute is present. These
              factors include: 1) where the Bureau of Prisons has requested
              the modification based upon extraordinary and compelling

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              circumstances warranting a reduction or the fact that the
              defendant is at least seventy years of age, has served at least
              thirty years in prison and presents no danger to the safety of
              the community, see 18 U.S.C. § 3582(c)(1)(A)(i) and (ii); 2)
              where modification is permitted under Fed. R. Crim. P. 35,
              see 18 U.S.C. § 3582(c)(1)(B); or 3) where the guideline
              range for the offense of conviction has been retroactively
              lowered, see 18 U.S.C. § 3582(c)(2).

United States v. Benjamin, No. 97-2147, 1999 WL 685924, at *4 (6th Cir. 1999)

(unpublished opinion) (Attachment A). Section 3582(c) also authorizes a district court to

“modify an imposed term of imprisonment to the extent otherwise expressly permitted by

statute.” 18 U.S.C. § 3582(c)(1)(B).

       In Defendant’s case, the Bureau of Prisons has not requested a modification of his

sentence, modification is not permitted under Federal Rule of Criminal Procedure 35,1

and the guideline range has not been lowered. Defendant cites no statute authorizing a

modification of his sentence. In short, this Court lacks the authority at this time to adjust

Defendant’s sentence based on his status as a deportable alien.

       Accordingly,




       1
        Pursuant to Federal Rule of Criminal Procedure 35, the court may correct a
sentence under limited circumstances: (a) within fourteen days after sentencing to correct
an arithmetical, technical, or other clear error; or (b) upon the Government’s motion
based on the defendant’s substantial assistance post-sentencing. Neither of these
circumstances is presented here.

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      IT IS ORDERED, that Defendant’s Motion for Sentence Adjustment is DENIED.

Date: May 23, 2011                  s/PATRICK J. DUGGAN
                                    UNITED STATES DISTRICT JUDGE


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                                      4
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                                             Attachment A



NOTICE: THIS IS AN UNPUBLISHED OPINION.
(The Court's decision is referenced in a “Table of Decisions Without Reported Opinions” appearing in
the Federal Reporter. Use FI CTA6 Rule 28 and FI CTA6 IOP 206 for rules regarding the citation of
unpublished opinions.)

                              United States Court of Appeals, Sixth Circuit.

                          UNITED STATES OF AMERICA, Plaintiff-Appellee,
                                                 v.
                           Jeffery Corson BENJAMIN, Defendant-Appellant.
                                            No. 97-2147.

                                       Aug. 26, 1999.
Before SILER and GILMAN, Circuit Judges; GRAHAM,FN* District Judge.

       FN* The Honorable James L. Graham, United States District Judge for the Southern District of
       Ohio, sitting by designation.

                                                  ORDER

    *1 Jeffery Corson Benjamin, appellant herein, was one of twelve defendants indicted in the United
States District Court for the Eastern District of Michigan for one count of conspiracy to distribute and
possess with intent to distribute marijuana in violation of 21 U.S.C. §§ 841(a)(1) and 846. Benjamin was
arraigned on February 10, 1997 and pleaded not guilty. A plea agreement signed by Benjamin on February
5, 1997 was filed with the court on March 19, 1997.
    Benjamin entered a guilty plea pursuant to the plea agreement on April 17, 1997. The sentencing
estimates incorporated in the plea agreement indicated that Benjamin was facing a sentence of twenty years
to life, but that under the “safety valve” provisions, 18 U.S.C. § 3553(f) and United States Sentencing
Guidelines (“U.S.S.G.”) § 5C1.2, Benjamin would probably be placed in a total offense level of 29, criminal
history category III, with a sentencing range of 87 to 108 months. The only binding sentencing limitation
placed upon the court by the plea agreement was that Benjamin would not receive a sentence greater than
the midpoint of the guideline range ultimately found to be applicable in his case.

    The probation officer concluded in the final presentence report that Benjamin was at a total offense level
of 27, criminal history I, resulting in a range of 70 to 87 months, and that Benjamin avoided a mandatory
minimum sentence of 120 months due to qualifying under the “safety valve” provision in U.S.S.G. § 5C1.2.
On September 18, 1997, the government filed a motion for downward departure under U.S.S.G. § 5K1.1
and recommended a sentence of 54 months. On October 9, 1997, the court sentenced Benjamin to a term
of incarceration of 67 months.

   Benjamin filed a notice of appeal on October 20, 1997. On December 17, 1997, Benjamin, who had

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    188 F.3d 509, 1999 WL 685924 (C.A.6 (Mich.))
    (Table, Text in WESTLAW), Unpublished Disposition

    (Cite as: 188 F.3d 509, 1999 WL 685924 (C.A.6 (Mich.)))



retained new counsel, filed motions for bond pending appeal and for resentencing or, in the alternative, for
leave to withdraw his guilty plea. Benjamin contended that government agents had promised him a sentence
of ten years probation. On January 8, 1998, the trial court denied the motion for bond pending appeal, and
denied the motion for resentencing or to withdraw the guilty plea on the ground that the court lacked
jurisdiction to rule on that motion in light of the pending appeal.

    Benjamin has raised six assignments of error. In the first three assignments of error, Benjamin contends
that the district court did not adequately comply with the requirements of Fed.R.Crim.P. 11 in accepting his
guilty plea.

    The failure to strictly comply with the procedures contained in Rule 11 is subject to a harmless error
analysis. Fed.R.Crim.P. 11(h). In determining whether the trial court properly accepted a defendant's plea,
this court will review the totality of the circumstances, vacating the plea only where there is a variance from
the required procedure and that variance affects a substantial right of the defendant. United States v.
Bashara, 27 F.3d 1174, 1178-79 (6th Cir.1994), cert. denied, 513 U.S. 1115 (1995); United States v. Syal,
963 F.2d 900, 904 (6th Cir.1992).

    *2 In the first assignment of error, Benjamin contends that the court should have made further inquiries
about whether any additional promises were made to him and about his understanding as to the extent of
a possible downward departure at the request of the government.

    Where the parties have reached a plea agreement, Fed.R.Crim.P. 11(e)(2) mandates that “the court shall,
on the record, require the disclosure of the agreement in open court[.]” The trial court in this case required
such disclosure. Counsel for the government stated the terms of Benjamin's plea agreement on the record,
and Benjamin, when asked by the court if the statement was “exactly what you understand your agreement
to be,” responded that it was. Jt.App., Vol. I, p. 119. Benjamin also acknowledged under oath that he had
read and signed the agreement and that it included every promise or representation that the government had
made. Jt.App., Vol. I., pp. 116-117. The trial court further inquired, “Do you understand that if you're
relying on anything not written in here, you'll never get it enforced in this court, because the court relies on
this written paper?”, to which Benjamin responded affirmatively, Jt.App., Vol. I, p. 117.

    The trial court complied with Rule 11(e)(2) by requiring the disclosure of any agreement between the
parties on the record. Benjamin now contends, despite his earlier sworn statements, that he was promised
a sentence of probation, and that the trial court should have made further inquiries. However, the parties
have a duty under Rule 11(e)(2) to inform the court of the extent of their agreement. United States v.
Hernandez, 79 F.3d 1193, 1194 (D.C.Cir.1996). Benjamin gave the trial court no notice that a more
searching inquiry was warranted. See United States v. Farley, 72 F.3d 158, 164 (D.C.Cir.1995).

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    The trial court fully complied with the disclosure requirements of Rule 11(e)(2), and reversal on that
ground is not warranted. The factual question of whether Benjamin was promised probation has not been
developed in the record currently before this court. The issues of whether Benjamin was promised probation,
and if so, whether this promise rendered his guilty plea involuntary, are properly left to proceedings on a
petition filed under 28 U.S.C. § 2255.

    Benjamin also argues that the trial court should have inquired further into his understanding as to the
possible extent of a downward departure. The plea agreement in this case specified that the government
reserved the right to make the sole determination as to whether the defendant had provided substantial
assistance, and that any motion filed by the government would be limited to a departure authorized by
U.S.S.G. § 5K1.1 and would not include a motion for departure below the mandatory statutory minimum
pursuant to 18 U.S.C. § 3553(e). The plea agreement further stated that the government retained the power
to recommend how much of a departure there should be, but that the amount of the reduction, if any, would
be determined by the court. Benjamin indicated at the Rule 11 proceeding that he had read the plea
agreement and understood its terms. Jt.App., Vol. I, p. 117. He stated at the time of the plea that he was
forty-three years old, and that he had “done some college.” Jt.App., Vol. I, p. 109. He never told the court
that he thought that a downward departure to a sentence of probation would be recommended. The trial
court did not violate Rule 11 by failing to inquire further as to Benjamin's understanding of the scope of a
possible downward departure.

    *3 In his second assignment of error, Benjamin contends that the trial court did not adequately explain
the ramifications of the language in the plea agreement whereby the parties agreed that “any sentence of
incarceration shall not exceed the midpoint of the sentencing guideline range that the court finds to be
applicable.” This language amounted to a sentencing recommendation under Fed.R.Crim.P. 11(e)(1)(C)
which was binding on the court. This agreement was placed on the record at the plea proceedings. Benjamin
stated that he had read the plea agreement and that he fully understood it. He does not suggest how the trial
court could have made his understanding of this provision any clearer. The trial court followed this binding
sentencing recommendation by sentencing Benjamin below the midpoint of the applicable guideline range.
This assignment of error is without merit.

    Benjamin argues in his third assignment of error that the trial court did not adequately advise him that
the court was not bound by any requested downward departure by the government. As noted above, the plea
agreement stated that the extent of any downward departure was a matter for the trial court to determine,
and Benjamin indicated he fully understood the plea agreement. Benjamin was adequately informed that
the amount of the reduction for substantial assistance was for the trial court to determine.


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    188 F.3d 509, 1999 WL 685924 (C.A.6 (Mich.))
    (Table, Text in WESTLAW), Unpublished Disposition

    (Cite as: 188 F.3d 509, 1999 WL 685924 (C.A.6 (Mich.)))



    Benjamin correctly notes that the trial court failed to advise him that if the court did not follow the
government's § 5K1.1 recommendation for the amount of a downward departure, he would have no right
to withdraw his guilty plea.

    If the plea agreement includes a sentencing recommendation under Fed.R.Crim.P. 11(e)(1)(B) which
is not binding on the court, “the court shall advise the defendant that if the court does not accept the
recommendation or request the defendant nevertheless has no right to withdraw his plea.” Fed.R.Crim.P.
11(e)(2). This circuit has thus far declined to determine whether a recommendation for a downward
departure is a “particular” sentence entered pursuant to (e)(1)(B), thereby triggering the (e)(2) warning
requirement. See United States v. Lowery, 60 F.3d 1199, 1206 (6th Cir.1995). The Eighth Circuit has
expressed doubt that a § 5K1.1 recommendation falls within the (e)(2) warning requirement, see United
States v. McCarthy, 97 F.3d 1562, 1575 (8th Cir.1996), and the Ninth Circuit has concluded that the (e)(2)
warning requirement does not apply to § 5K1.1 motions, see United States v. Uba, 103 F.3d 143, 1996 WL
717103 (unreported) (9th Cir.1996).

    Even assuming that the Rule 11(e)(2) warning requirement is applicable to § 5K1.1 motions, the failure
to give such a warning may be harmless error. McCarthy, 97 F.3d at 1575, Lowery, 60 F.3d at 1206. Here,
the plea agreement provided that “the amount of a reduction, if any, will be determined by the court.” The
plea agreement further provided that the “court's failure to follow such a recommendation, if made, is not
a valid basis for defendant to withdraw the guilty plea or to rescind the plea agreement.” This language is
the equivalent of the warning required under Rule 11(e)(2). Benjamin acknowledged at the Rule 11
proceedings that he had read the plea agreement and that he fully understood it. Under these circumstances,
the failure of the trial court to give the Rule 11(e)(2) warning is harmless error. See McCarthy, 97 F.3d at
1576 (finding harmless error where the plea agreement contained language of Rule 11(e)(2) warning and
defendant indicated that he had read and understood the plea agreement). The third assignment of error is
without merit.

    *4 Benjamin's fourth, fifth and sixth assignments of errors concern his motion to withdraw his guilty
plea. In his fourth assignment of error, Benjamin argues that government agents promised him a sentence
of ten years probation in exchange for his assistance, and that he is entitled to specific performance of this
promise. In the fifth assignment of error, Benjamin contends that the trial court erred in failing to resentence
him or to permit him to withdraw his guilty plea, and in not conducting an evidentiary hearing on his motion
to withdraw his plea. In the sixth assignment of error, Benjamin contends that he should be permitted to
withdraw his plea based upon alleged improper conduct on the part of government counsel, including the
fact that government counsel allegedly contacted him on two occasions without his attorney being present.

   The trial court correctly found that it lacked jurisdiction to consider these matters. Under 18 U.S.C. §

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3582(c), a trial court may amend a sentence of imprisonment only where one of the circumstances set forth
in that statute is present. These factors include: 1) where the Bureau of Prisons has requested the
modification based upon extraordinary and compelling circumstances warranting a reduction or the fact that
the defendant is at least seventy years of age, has served at least thirty years in prison and presents no danger
to the safety of the community, see 18 U.S.C. § 3582(c)(1)(A)(i) and (ii); 2) where modification is permitted
under Fed.R.Crim.P. 35, see 18 U.S.C. § 3582(c)(1)(B); or 3) where the guideline sentencing range for the
offense of conviction has been retroactively lowered, see 18 U.S.C. § 3582(c)(2). None of those factors is
applicable here, and the trial court lacked jurisdiction to resentence Benjamin.

    The trial court also properly declined to consider Benjamin's motion to withdraw his guilty plea on the
basis of lack of jurisdiction. Fed.R.Crim.P. 32(e) (formerly designated as Rule 32(d)) provides that after
sentencing, “a plea may be set aside only on direct appeal or by motion under 28 U.S.C. § 2255.” See also
United States v. Todaro, 982 F.2d 1025, 1028 (6th Cir.), cert. denied, 508 U.S. 943 (1993)(after sentencing,
guilty plea can be set aside only on direct appeal or via a § 2255 motion); United States v. Davis, 954 F.2d
182, 184 (4th Cir.1992)(same). After sentencing, a district court lacks jurisdiction to rule on a motion to set
aside a guilty plea. Farley, 72 F.3d at 162; United States v. Baker, 790 F.2d 1437, 1438 (9th Cir.1986).
This court also lacks jurisdiction to consider the merits of Benjamin's motion to withdraw his guilty plea.
Baker, 790 F.2d at 1438. The trial court properly denied Benjamin's motion for resentencing or to withdraw
his guilty plea without conducting an evidentiary hearing. The claims in Benjamin's fourth through sixth
assignments of error must be asserted in a § 2255 petition. Assignments of error four through six are denied.

    *5 Accordingly, the judgment and commitment order entered on October 9, 1997 and the order of
January 8, 1998 denying the motion for resentencing or for withdrawal of guilty plea on the basis of lack
of jurisdiction are hereby AFFIRMED.
